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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION


 FRANCISCAN ALLIANCE, INC. et al.

                       Plaintiffs,
                v.

 ALEX M. AZAR II, Secretary of the United              Civ. Action No. 7:16-cv-00108-O
 States Department of Health and Human
 Services, et al,.
                      Defendants.



SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF RENEWED MOTION
  TO INTERVENE OF RIVER CITY GENDER ALLIANCE AND ACLU OF TEXAS


       Pursuant to this Court’s Order dated August 7, 2019 (ECF No. 164), the ACLU of Texas

and the River City Gender Alliance (collectively “Proposed Intervenors”) respectfully submit

this Supplemental Memorandum of Law.

  I.   Town of Chester Applies To Permissive Intervenors, But Does Not Apply To
       Intervenor-Defendants in the District Court.

       Proposed Intervenors agree with the parties that the standing requirements articulated in

Town of Chester apply to permissive intervenors as well as intervenors as of right. For all relief

sought, there must be a litigant with standing.

       In this case, however, Proposed Intervenors are seeking to intervene as intervenor-

defendants. The parties and Proposed Intervenors all agree that intervenor-defendants do not

have to establish Article III standing at the district court because intervenor-defendants are not

litigants seeking judicial “relief.” See Renewed Mot. to Intervene at 11-13 (ECF No. 129); Pls.’

Supp. Mem. at 3 (ECF No. 165); Defs.’ Supp. Mem. at 1 (ECF No. 166).



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        Proposed Intervenors recognize that—without the benefit of adversarial briefing—this

Court held in Deotte v. Azar, No. 4:18-cv-00825-O (N.D. Tex. July 29, 2019) (ECF No. 97), that

the State of Nevada was required to establish Article III standing to defend the legality of the

“contraceptive mandate.” Because the federal government declined to defend the mandate, this

Court concluded that “no party is seeking Nevada’s desired relief—a ruling that the

contraceptive mandate as applied to the two certified classed does not violate RFRA. Nevada

must, therefore, demonstrate independent standing under the Supreme Court’s holding in Town

of Chester . . . .” Id. at 4.

        With the benefit of briefing on the issue, the Court should reconsider that conclusion.

Proposed Intervenors seek to raise defenses in support of a challenged regulation, but defenses

are not claims for “relief.” See Fed. R. Civ. P. 8(a) (describing a compliant as pleading “a

demand for the relief sought”); Fed. R. Civ. P. 8(b) (describing an answer as pleading

“defenses”). Proposed Intervenors have not filed any counterclaim and do not seek a declaratory

judgment that the regulations are lawful. Like any other defendant, Proposed Intervenors are not

invoking this Court’s jurisdiction and are not seeking affirmative judicial “relief” of any kind.

Proposed Intervenors simply ask the Court to deny Plaintiffs’ requests for relief, and such a

request does not require Proposed Intervenors to establish Article III standing.

 II.    Proposed Intervenors Have Article III Standing.

        In any event, as discussed in the Renewed Motion to Intervene, Proposed Intervenors

have adequately alleged an injury in fact to support Article III standing. Renewed Mot. to

Intervene at 14-16. These injuries are neither speculative nor conjectural: At least two members

are subject to categorical exclusions of coverage for transition-related surgical care in Texas’s

and Nebraska’s Medicaid programs, and at least one member faces a substantial risk of




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discrimination at Texas public hospitals based on pregnancy and pregnancy termination. Id.

Contrary to Plaintiffs’ contention, Pls.’ Supp. Mem. at 3, Proposed Intervenors need not identify

physicians “willing” to care for their members to properly allege that their members are currently

suffering an injury in fact and that “there is a ‘substantial risk that the harm will occur.’” Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (quoting Clapper v. Amnesty Int’l USA,

568 U.S. 398, 414 n.5 (2013) (cleaned up)); see also Brumfield v. Dodd, 749 F.3d 339, 344 (5th

Cir. 2014).

       Plaintiffs also assert that under Summers v. Earth Island Institute, 555 U.S. 488, 497-500

(2009), Proposed Intervenors must submit “individual affidavits” from their members to support

Article III standing. Pls.’ Supp. Mem. at 3. But, as explained in Proposed Intervenors Reply

Memorandum at 3 (ECF No. 144), motions to intervene are judged by the same pleading

standards as complaints. Summers was a case about what evidence was necessary to support

standing to obtain final judgment on the merits, not a case about alleging standing at the pleading

stage. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992) (distinguishing between

requirements to establish standing at pleading stage and at summary judgment). As the Fifth

Circuit explained in Hancock County Board of Supervisors v. Ruhr, “We are aware of no

precedent holding that an association must set forth the name of a particular member in its

complaint in order to survive a Rule 12(b)(1) motion to dismiss based on a lack of associational

standing.” 487 F. App’x 189, 198-99 (5th Cir. 2012); accord Nat’l Council of La Raza v.

Cegavske, 800 F.3d 1032 (9th Cir. 2015) (“Where it is relatively clear, rather than merely

speculative, that one or more members have been or will be adversely affected by a defendant’s

action, and where the defendant need not know the identity of a particular member to understand

and respond to an organization’s claim of injury, we see no purpose to be served by requiring an




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organization to identify by name the member or members injured.”); Bldg. and Constr. Trades

Council v. Downtown Dev., Inc., 448 F.3d 138, 145 (2d Cir. 2006) (“The defendants’ argument

that the persons allegedly injured must be identified by name might have some validity if this

litigation were at the summary judgment stage . . . . But [defendants’] contention is unpersuasive

on a motion to dismiss, where standing is challenged based on the pleadings alone.”).

       Once the Motion to Intervene is granted, Plaintiffs may test Proposed Intervenors’

standing through appropriate discovery or a motion for summary judgment. As part of that

process, Proposed Intervenors may also seek an appropriate protective order to prevent

unwarranted public dissemination of its members’ name. The Court will have an opportunity to

rule on those issues in due course. But Plaintiffs cannot leapfrog over the normal rules of

procedure by requiring Proposed Intervenors to submit evidence before their motion to intervene

as even been granted.


       Respectfully submitted this the 14th day of August, 2019.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of August, 2019, I electronically filed the foregoing

with the clerk of the court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the Court.


                                              /s/ Joshua Block
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